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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 CORNELIUS WALKER,

 Plaintiff,
                                                 Case No. 20-cv-261
 v.
                                                 Judge Mary M. Rowland
 THOMAS DART, Sheriff of Cook
 County, and COOK COUNTY,
 ILLINOIS,

 Defendants.

                    MEMORANDUM OPINION AND ORDER

       Plaintiff Cornelius Walker, a detainee at Cook County Jail, brought this action

against Sheriff Thomas Dart and Cook County, Illinois, (collectively “Defendants”),

as a class action under Section 202 of the Americans with Disabilities Act, 42 U.S.C.

§12132, Section 504 of the Rehabilitation Act, and 29 U.S.C. §794(a). Plaintiff claims

a ramp leading to Cook County Jail’s Cermak Health Facility (the “Cermak ramp”) is

non-compliant with ADA Structural Standards, impairs his and other similarly

situated detainees’ access, and impacts a mobility impaired person’s ability to safely

transport. Before the Court is Plaintiff’s motion for permanent injunctive relief [209],

Plaintiff’s motion for partial summary judgment [225], and Plaintiff’s motion for leave

to supplement the complaint [228]. For the reasons stated below, Plaintiff’s motion

for partial summary judgment [225] is denied for lack of standing. Plaintiff’s case is

dismissed and all pending motions, including for permanent injunctive relief [209]

and for leave to supplement the complaint [228], are denied as moot.



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                                 LEGAL STANDARDS

       Summary judgment is proper where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986). A genuine dispute as to any material fact exists if “the evidence is such

that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The substantive law controls which facts

are material. Id. After a “properly supported motion for summary judgment is made,

the adverse party ‘must set forth specific facts showing that there is a genuine issue

for trial.’” Id. at 250 (quoting Fed. R. Civ. P. 56(e)).

       The Court “consider[s] all of the evidence in the record in the light most

favorable to the non-moving party, and [ ] draw[s] all reasonable inferences from that

evidence in favor of the party opposing summary judgment.” Logan v. City of Chicago,

4 F.4th 529, 536 (7th Cir. 2021) (quotation omitted). The Court “must refrain from

making credibility determinations or weighing evidence.” Viamedia, Inc. v. Comcast

Corp., 951 F.3d 429, 467 (7th Cir. 2020) (citing Anderson, 477 U.S. at 255). In ruling

on summary judgment, the Court gives the non-moving party “the benefit of

reasonable inferences from the evidence, but not speculative inferences in [its] favor.”

White v. City of Chicago, 829 F.3d 837, 841 (7th Cir. 2016) (internal citations omitted).

“The controlling question is whether a reasonable trier of fact could find in favor of

the non-moving party on the evidence submitted in support of and opposition to the

motion for summary judgment.” Id.



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                                      BACKGROUND 1

    A. Statutory Framework

        Under Title II of the ADA, “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits

of the services, programs, or activities of a public entity, or be subjected to

discrimination by any such entity.” 42 U.S.C. § 12132. Under the Rehabilitation Act,

“[n]o otherwise qualified individual with a disability… shall, solely by reason of her

or his disability, be excluded from the participation in, be denied the benefits of, or

be subjected to discrimination under any program or activity” covered by the Act. 29

U.S.C. § 794(a). For public facilities built or altered after January 26, 1992, the public

entity must ensure that the facility is not just possibly accessible but “readily

accessible.” 28 C.F.R. § 35.151(a), (b).

        Regulations promulgated as the ADA Standards for Accessible Design2

(referred herein as the “ADA Structural Standards”) set forth construction and


1 The facts in this Background section are undisputed unless otherwise noted. The Court

takes these facts from Plaintiff’s Statement of Facts [226], Defendants’ Response to PSOF
[239], Defendants’ Statement of Additional Facts [240], and Plaintiff’s Response to DSOAF
[244], and various exhibits and declarations the parties have submitted in connection with
Plaintiff’s motion for summary judgment. Plaintiff challenges Defendants’ Local Rule 56.1
responses [239] and has moved to strike 12 of their responses. [245] at 6–11. The Court
maintains broad discretion to enforce the local rules governing summary judgment motions.
Petty v. City of Chicago, 754 F.3d 416, 420 (7th Cir. 2014). The Court declines to strike
responses outright but will address relevant facts and responses as they are pertinent to the
issues herein. The Court will only consider factual material supported by the record and will
disregard improper responses. See Cady v. Sheahan, 467 F.3d 1057, 1060 (7th Cir. 2006) (A
party’s statement of facts does not comply with Rule 56.1 if “it fail[s] to adequately cite the
record [or is] filled with irrelevant information, legal arguments, and conjecture.”).

2 The requirements under the RHA are substantially similar. Following the practice of
Plaintiff and Defendants, the Court will only refer to the ADA and the ADA Structural
Standards going forward.
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structural requirements to which newly constructed or altered facilities must comply.

See 28 C.F.R. § 35.151(c). Buildings constructed or altered between July 26, 1992 and

September 15, 2010 are subject to the 1991 ADA Structural Standards. 28 C.F.R. §

35.151(c)(1).

      Under Section 4.8.2 of the 1991 ADA Structural Standards, the maximum rise

for any ramp is 30 inches. Furthermore, pursuant to Section 4.8.5, ramps with a rise

greater than 6 inches or a horizontal projection greater than 72 inches shall have

handrails on both sides and those handrails must extend at least 12 inches beyond

the top and bottom of a ramp segment when the handrails are non-continuous.

   B. Cook County Jail and Cermak Health Facility

      Cook County owns Cermak Health Services Facility, which is used to provide

health services for and house detainees on the Cook County Department of

Corrections campus. [239] ¶¶ 4, 8; [244] ¶ 1. Construction of the facility commenced

after July 26, 1992. [239] ¶ 4. A pedestrian and material access tunnel serves the

Cermak facility at the basement level. Id. ¶ 5; [244] ¶ 2. The Cermak ramp connects

the building to the tunnel and is used by civilian and security employees to enter

Cermak, transport inmates, and move equipment. [239] ¶ 6. Inmates may traverse

the Cermak tunnel via the ramp to obtain medical services or be transported to court.

Id. ¶¶ 7–8, 12.

      Cook County hired a third-party architectural/engineering firm, Globetrotters

Engineering Corporation (“GEC”), to assess the ADA compliance of the Cermak

Health Services Facility. Id. ¶ 52; [244] ¶¶ 5–6. On December 6, 2023, GEC submitted



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the Corridor Ramp Accessibility Assessment to Cook County. [239] ¶ 53. Through the

utilization of a three-dimensional LIDAR system, GEC’s assessment found the

Cermak ramp has a rise of 32.4 inches—2.4 inches over the maximum rise set forth

in the ADA Structural Standards. Id. ¶ 54; [244] ¶¶ 9–11; [226-11] at 8. The ramp is

continuous without a landing (see [239] ¶¶ 21, 62), lacked a handrail for part of the

relevant time period (id. ¶¶ 23, 34, 46, 78), and the later-installed handrails do not

extend 12 inches beyond the ramp (id. ¶ 60; [244] ¶ 13). GEC’s assessment noted the

wall configurations at the top and bottom of the ramp require a special type of fitting

for handrails that is not available for anti-ligature handrails. [244] ¶ 13; [226-11] at

3. The parties dispute whether anti-ligature handrails are a necessary precaution in

a jail setting. [244] ¶ 14.

       Inmates are typically escorted up and down the Cermak ramp by a correctional

officer, but dispute whether there is a policy or practice of officers pushing

wheelchair-users. [244] ¶¶ 17–18, 22–24. On at least May 11, 2021, a sign was posted

at the end of the Cermak ramp that stated inmates were “not to go up or down any

ramps without an officer” and to “request help” if assistance was needed. [240-6].

   C. Plaintiff Cornelius Walker and Class Members

       Mr. Walker initiated this action in 2020 on behalf of himself and those

similarly situated to him. In March 2021, the Court certified the following class under

Rule 23(b)(2): “all Cook County Jail detainees who have been assigned and currently

use a wheelchair to traverse the Cermak ramp.” [62] at 15.




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        While housed in Cermak, Plaintiff Walker filed a grievance stating he was

“struggling up a hill [the Cermak ramp] and rolling down real fast with no

assistance.” 3 [222-7] at 1. He added the issue was ongoing over the prior three years

when going back and forward to court and that he felt his “rights ha[d] been violated.”

Id. Other class members testified to their experiences traversing the Cermak ramp,

which Defendants dispute. [239] ¶¶ 63, 66–72.

                                          ANALYSIS

   I.      Plaintiff’s Motion for Partial Summary Judgment

        The Plaintiff Class moves for partial summary judgment on the discrete

question of whether the Cermak ramp violated and continues to violate the ADA

Structural Standards from May 5, 2018 until Defendants renovate the ramp and

certify that it complies with the ADA. [227] at 1, 12. For the reasons explained below,

this Court denies Plaintiff's motion and concludes that Walker has not established

Article III standing.

           a. Article III Standing

        First, the Court must consider the threshold issue of Article III standing.

Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 461 (7th Cir. 2020) (“If a plaintiff lacks

standing, a federal court lacks jurisdiction.”). Defendants contend Plaintiff’s motion

must be denied for lack of jurisdiction because Plaintiff cannot satisfy his burden to

establish that he had standing at the time of initiating this suit, or alternatively, that


3 Defendants argue the grievance is vague and that is it unclear whether the “hill” at issue is

the Cermak ramp. The Court rejected this argument when denying Defendants’ motion to
dismiss for failure to exhaust administrative remedies. [88] at 2. Defendants provide no new
evidence, and the Court finds no reason to abandon its previous finding.
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other class members have standing. [241] at 5–11. Plaintiff responds that Plaintiff

Walker and the class have standing. [227] at 8–10; [245] at 2–6.

      As the party invoking federal jurisdiction, a plaintiff bears the burden of

demonstrating he satisfies the elements of Article III standing. TransUnion LLC v.

Ramirez, 594 U.S. 413, 430–31 (2021). The elements of Article III standing are that

a plaintiff “(1) suffered an injury in fact; (2) that is fairly traceable to the challenged

conduct of the defendant; and (3) that is likely to be redressed by a favorable judicial

decision.” Prairie Rivers Network v. Dynegy Midwest Generation, LLC, 2 F.4th 1002,

1007 (7th Cir. 2021). In addition, when a plaintiff seeks injunctive relief, he must also

offer evidence of a “real and immediate”—and not just a “conjectural or

hypothetical”—threat of a future violation of his rights. See City of Los Angeles v.

Lyons, 461 U.S. 95, 102 (1983) (citation and internal quotation marks omitted);

Scherr v. Marriott Inter’l, Inc., 703 F.3d 1069, 1074 (7th Cir.2013). To establish

standing at the summary judgment stage of litigation, a plaintiff must set forth by

affidavit or other evidence specific facts demonstrating that he has suffered a concrete

and particularized injury. Spuhler v. State Collection Serv., Inc., 983 F.3d 282, 284

(7th Cir. 2020) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)) (internal

quotations omitted).

      Specifically, Defendants challenge the sufficiency of the evidence regarding

whether Plaintiff (or other class members) suffered an injury in fact and whether the

alleged injury is fairly traceable to the challenged conduct of Defendants, i.e., the




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failure to repair the Cermak ramp. [241] at 7–11. Plaintiff argues Walker (and the

class) have standing. [227] at 8–10; [245] at 2–6, 12–13.

      Encounters with access barriers confers Article III standing for ADA plaintiffs.

Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1042 n.5 (9th Cir. 2008). “Once a disabled

individual has encountered … alleged ADA violations that … interfere with his access

to a place of public accommodation, he has already suffered an injury in fact traceable

to the defendant's conduct … so he possesses standing under Article III.” Id. The

encountered barrier must be linked to the nature of the plaintiff’s disability and

interfere with the plaintiff’s full and equal enjoyment of the facility, making his use

of the facility more difficult than a nondisabled individual’s, to constitute an injury-

in-fact. Chapman v. Pier I Imports (U.S.), Inc., 631 F.3d 939, 947 n.4 (9th Cir. 2011);

see also Lacy v. Cook Cnty., Illinois, 897 F.3d 847, 853 (7th Cir. 2018) (“Perhaps the

most obvious example of such discrimination is when structural barriers prevent

people with disabilities from accessing otherwise available public services.”). A

plaintiff must prove this injury. Chapman, 631 F.3d at 947 n.4.

      There is no genuine dispute that Plaintiff Walker is paralyzed and uses a

wheelchair for mobility between places. Defendants have admitted Walker has a

medical alert for para/tetraplegia ([54] Cook County’s Answer to Second Amended

Complaint ¶ 6; [55] Sheriff Dart’s Answer to Second Amended Complaint ¶ 6). On

October 17, 2018, Walker filed a grievance to which a correctional officer responded

regarding the staff’s obligations to “inmates in wheelchairs.” [222-7] at 2. It is

undisputed that Walker complained in the grievance that he was “[s]truggling up [the



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Cermak ramp] and rolling down real fast with no assistance.” [239] ¶ 64 (quoting

[222-7] at 1). Walker also explained the issue was ongoing for three years and arose

when traveling to and returning from court appearances. [222-7] at 1. Plaintiff

contends—without citation to any evidence—the non-compliant structure deprived

him of the ability to use the ramp “on the same basis as other inmates.” [245] at 3

(citing Jaros v. Illinois Dep’t. of Corr., 684 F.3d 667, 672 (7th Cir. 2012) and

Shuhaiber v. Illinois Dep’t of Corr., 980 F.3d 1167, 1170 (7th Cir. 2020). But Walker

presents no evidence other than the grievance to support that his access was different

than other inmates.

      Defendants argue this evidence is insufficient to establish standing at the

summary judgment stage of litigation. [241] at 7–9. They contend neither rolling fast

nor struggling up a ramp are injuries. Id. at 8–9 (discussing DeBoard v. Solid Rock

Properties, LLC, No. 1:22-CV-435-HAB, 2024 WL 1344761 (N.D. Ind. Mar. 29, 2024)

and Harper v. Dart, No. 14 C 01237, 2015 WL 6407577 (N.D. Ill. Oct. 21, 2015)).

Plaintiff responds that Defendants’ legal authorities are easily distinguishable. [245]

at 4–5. The Court agrees that Plaintiff has failed to present sufficient evidence to

satisfy his burden to establish standing.

      Akin to Walker’s complaint of “[s]truggling up [the Cermak ramp] and rolling

down real fast with no assistance,” the disabled detainee-plaintiff in Harper averred

he experienced “great difficulty” showering, toileting, and getting into bed. 2015 WL

6407577, at *4. The court explained “great difficulty,” like “struggling,” did not

explain how the plaintiff was denied equal access and therefore held these bare



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conclusions did not adequately allege enough facts to allow a plausible inference that

the failure to give different accommodations denied the plaintiff access equal to that

of other prisoners. Id. Plaintiff Walker’s attempt to distinguish Harper on the ground

that the plaintiff amended his complaint to add detail is not convincing. [245] at 3

n.1. Regardless of whatever additional facts were pleaded in Harper, it remains that

the only evidence before this Court for consideration on Plaintiff’s motion for

summary judgment is analogous to what was insufficient under a less demanding

standard in Harper. See Spuhler, 938 F.3d at 284.

        Defendants’ reliance on DeBoard is less persuasive. Walker effectively

distinguishes the “struggle” he faced traversing the Cermak ramp over a period of

multiple years with the “frustration, physical difficulty, indignation, and emotional

distress” alleged by the fair housing tester in DeBoard. 2024 WL 1344761, at *2. 4

Although evidence of Walker’s actual diminished access is lacking, as discussed

above, the Court agrees Plaintiff’s history of being detained at Cook County Jail, as

evidenced by his grievance, means he is differently situated from a tester plaintiff.

Accordingly, the Court does not rely on DeBoard to reach its conclusions.




4 DeBoard presents the issue of “intangible, emotional injuries.” Id. There, the court
explained that the Seventh Circuit has repeatedly held that emotional hardships, such as
stress, annoyance, intimidation, infuriation, disgust, indignation, embarrassment, and
confusion, are not concrete injuries that confer Article III standing. Id. (citing Wadsworth v.
Kross, Lieberman & Stone, Inc., 12 F.4th 665, 668-69 (7th Cir. 2021)). Plaintiff argues
“intangible harms arising from statutory violations can satisfy the injury-in-fact requirement
so long as they are sufficiently concrete.” [245] at 4 (quoting Patterson v. Howe, 96 F.4th 992,
996 (7th Cir. 2024)) (cleaned up). The Court need not decide this issue as Plaintiff submitted
no evidence that he suffered a concrete harm from the alleged ADA violations.
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      Plaintiff’s own case law also weighs in favor of Defendants. In Shuhaiber, the

Seventh Circuit affirmed the dismissal of a suit where the plaintiff alleged difficulties

getting into his lower bunk and using the table in his cell as well as being transported

in vans that were not ADA compliant, but “did not say anything about his particular

circumstances or accommodations that kept him from accessing the Center’s facilities

or services on the same basis as other inmates.” 980 F.3d at 1170 (citing Wagoner v.

Lemmon, 778 F.3d 586, 593 (7th Cir. 2015) (concluding that the inconvenience of

longer waits and humiliation of transport in a noncompliant van, including crawling

off a “regular van,” does not amount to denial of services)). The case was dismissed

with prejudice; however, the opinion suggested the outcome may have been different

if the plaintiff alleged he missed medical appointments due to the inadequacy of the

vans. Id.

      To the contrary, in Jaros, the Seventh Circuit determined the plaintiff pleaded

a plausible claim that the Illinois Department of Corrections’ refusal to accommodate

his disability kept him from accessing meals and showers on the same basis as other

inmates. 684 F.3d at 672. There, the plaintiff alleged he feared falling when using the

toilet or shower and thus limited himself to taking only four showers monthly. Id. at

669. He also alleged that he missed meals on occasion because he could not walk fast

enough to the cafeteria. Id. Unlike the plaintiff in Jaros but like the plaintiff in

Shuhaiber, Walker failed to present evidence “about his particular circumstances …

that kept him from accessing the … facilities or services on the same basis as other

inmates.” Shuhaiber, 980 F.3d at 1170.



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      Plaintiff’s reliance on the testimony of Eric Davis, the Deputy Director of the

Cook County Department of Capital Planning and Policy and the lead person for Cook

County’s efforts to renovate the Cermak ramp, cannot overcome the lack of evidence

of a concrete injury. See [245] at 3–4. Davis testified handrails “allow someone to

steady themselves, whether they’re walking or in a wheelchair, to provide stability

when they’re walking or in a wheelchair.” [226] ¶ 30. He also testified landings allow

for breaks (id. ¶ 58) and without a landing “[a wheelchair user] might accelerate too

much and really create a hazardous condition” ([244-1] at 159: 17–19). As an initial

matter, Defendants challenge the admissibility of these statements and cite

compelling countervailing testimony. [239] ¶¶ 30, 58; see also [241] at 13. Regardless,

Davis’s testimony about the general purpose of ramp landings and handrails is too

speculative to substantiate that Walker’s injuries are “concrete and particularized”

and “actual or imminent.” Hummel v. St. Joseph Cnty. Bd. of Comm’rs, 817 F.3d 1010,

1020 (7th Cir. 2016) (“Allegations that some litigants with disabilities may suffer

discrimination when they enter the [courthouse] are not enough to show a genuine

issue of material fact about whether [plaintiff] personally suffered discrimination

when he went to court.”); Lujan, 504 U.S. at 560 n.1 (“By particularized, we mean

that the injury must affect the plaintiff in a personal and individual way.”); see also

Argyropoulos v. City of Alton, 539 F.3d 724, 732 (7th Cir. 2008) (noting that “our favor

toward the nonmoving party does not extend to drawing inferences that are

supported by only speculation or conjecture”) (cleaned up).




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      Finally, Plaintiff’s reliance on Scherr v. Marriott Intern., Inc, 703 F.3d 1069

(7th Cir. 2013), Pickern v. Holiday Quality Foods Inc., 293 F.3d 1133 (9th Cir. 2002),

and the “deterrent effect doctrine for ADA standing” is unavailing. [245] at 5–6.

Plaintiff has submitted no evidence of his being deterred. See Estate of Moreland v.

Dieter, 395 F.3d 747, 759 (7th Cir.2005) (declining to “scour” the record to help a party

overcome summary judgment). “For a deterrence injury to be sufficiently concrete

and non-speculative, the deterrence must be reasonable.” Access Living of Metro.

Chicago v. Uber Techs., Inc., 351 F. Supp. 3d 1141, 1149 (N.D. Ill. 2018), aff’d, 958

F.3d 604 (7th Cir. 2020). Here, there is no concrete or non-speculative evidence of

deterrence to consider.

      By finding Plaintiff fails to meet his burden to establish standing, the Court

does not set a high standard. Plaintiff may have adequately alleged standing at the

pleading stage, but “as the litigation progresses, the way in which the plaintiff

demonstrates standing changes.” Spuhler, 983 F.3d at 285. As set forth above, “[t]he

standard for demonstrating the jurisdictional facts at summary judgment is whether

the plaintiffs have supplied evidence of “specific facts” that, taken as true, show each

element of standing.” Id. at 286 (citing Lujan, 504 U.S. at 561).

      Finally, Plaintiff argues even if he lacks standing, the requirement of standing

can be satisfied if at least one member of the certified class has standing and can

replace the named representative. [245] at 13 (citing Kohen v. Pacific Inv.

Management Co. LLC, 571 F.3d 672, 676 (7th Cir. 2009); Lacy, 897 F.3d at 867 n.40).

Not so. It is well-established that a plaintiff must have Article III standing at the



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time a complaint is filed. See Sosna v. Iowa, 419 U.S. 393, 402 (1975). A litigant’s role

as a named plaintiff who represents members of a class does not disturb this

requirement. Payton v. County of Kane, 308 F.3d 673, 682 (7th Cir. 2002) (“a person

cannot predicate standing on injury which he does not share”). In other words, the

named plaintiff must have standing before class certification and replacement is only

appropriate if the class representative only loses standing after initiating the suit.

See Kohen, 571 F.3d at 676 (“Before a class is certified, it is true, the named plaintiff

must have standing, because at that stage no one else has a legally protected interest

in maintaining the suit.”) (emphasis in original); see also Walters v. Edgar, 163 F.3d

430, 432 (7th Cir. 1998). Accordingly, Plaintiff Walker must show he independently

had standing at the time he filed this lawsuit in 2020; evidence of other class

members’ standing will not suffice. Plaintiff has not done so.

   II.     Motion for Permanent Injunctive Relief and Motion for Leave to
           Supplement the Complaint

         Plaintiff’s remaining motions are predicated on him having Article III

standing. Plaintiff’s case is dismissed on the merits and the pending motions are

denied as moot.

                                   CONCLUSION

   For the stated reasons, Plaintiff’s motion for partial summary judgment [225] is

denied. Judgment entered in favor of Defendants. Civil case terminated.




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                                         E N T E R:


Dated: January 21, 2025

                                         MARY M. ROWLAND
                                         United States District Judge




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